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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
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JUSTIN BAERGA; STEVEN GREENE; GIOVANNA
SANCHEZ-ESQUIVEL;                  and      SARAH          ARVIO,
individually and on behalf of all others similarly situated,
and COMMUNITY ACCESS, INC.; NATIONAL
ALLIANCE ON MENTAL ILLNESS OF NEW YORK
CITY, INC.; and CORRECT CRISIS INTERVENTION
TODAY - NYC,
                                                      Plaintiffs,

                                   -against-
                                                                          No. 21-cv-05762 (PAC)
CITY OF NEW YORK; BILL DE BLASIO; DERMOT
                                                                        [PROPOSED]
F. SHEA; NYPD POLICE OFFICER KRZYSZTOF
                                                                        ORDER TO
WNOROWSKI; NYPD POLICE OFFICER SHERON;
                                                                        SHOW CAUSE
NYPD POLICE OFFICER MCDOWELL; NYPD
POLICE SERGEANT NATHAN MOLE; NYPD
POLICE OFFICER MARTIN HABER; NYPD POLICE
SERGEANT GBAIN; NYPD POLICE OFFICER
VIKRAM PRASAD; NYPD POLICE OFFICER
ANDRE DAWKINS; NYPD POLICE OFFICER
TYRONE FISHER; NYPD POLICE OFFICER
DEVIENDRA RAMAYYA; NYPD POLICE OFFICER
JULIAN TORRES; NYPD OFFICER SANCHEZ, and
NYPD OFFICERS JOHN and JANE DOES # 1-40,
                                                     Defendants.
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        Upon the annexed declaration of STEVEN GREENE, dated December 7, 2022;

declaration of Felix Guzman, dated December 7, 2022; the declaration of Jonathan C. Moore,

dated December 8, 2022; the exhibits attached to those declarations; Plaintiffs’ accompanying

Memorandum of Law; and upon all the papers filed and proceedings had herein, it is hereby

             ORDERED that Defendants show cause before Hon. Paul A. Crotty in Courtroom

14C, United States Courthouse, 500 Pearl St., New York, NY 10007-1312, on,

_________________________, 2022 at ____:_____ a.m./p.m., or as soon thereafter as counsel

may be heard, why an order should not be issued pursuant to Rule 65 of the Federal Rules of



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Civil Procedure restraining, enjoining, and staying Defendants from implementing, enacting,

and/or training any City officials and their agents including, but not limited to NYPD Officers

and other City employees, on the City’s Mental Health Involuntary Removals Policy; and it is

further

            ORDERED that electronic service of a copy of this Order together with the papers on

which it is granted, upon Defendants’ counsel of record on or before ____________________,

2022, shall be good and sufficient service upon defendants; and it is further

            ORDERED that at least ten (10) days before the return date of this Motion, Plaintiffs

must serve upon attorneys for Defendants any additional supporting papers; at least five (5) days

before the return date of this Motion, Defendants must serve any answering papers upon

attorneys for Plaintiffs; and no later than the return date of this motion, Plaintiff shall serve upon

attorneys for Defendants any reply papers.

Dated:      New York, New York
            December 8, 2022
                                                      ENTER:




                                                      ___________________________
                                                      Paul A. Crotty, U.S.D.J.




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